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           In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                 (E-Filed: April 2, 2014)

* * * * * * * * * * * * *
ANN MCCLENAGHAN,                 *                   No. 12-757V
Administrator of the Estate of   *
MADELINE MACKAY, Deceased,       *
                                 *
                     Petitioner, *                   Special Master
                                 *                   Hamilton-Fieldman
v.                               *
                                 *                   Attorneys’ fees and costs; Reasonable
SECRETARY OF HEALTH              *                   Amount Requested to which Respondent
AND HUMAN SERVICES,              *                   Does Not Object
                                 *
                     Respondent. *
* * * * * * * * * * * * *

Ronald C. Homer, Boston, MA, for Petitioner.
Tara J. Kilfoyle, Washington, DC, for Respondent.

                      ATTORNEYS’ FEES AND COSTS DECISION 1

      On March 25, 2014, Petitioner filed his Application for Attorneys’ Fees and Costs (Fee
Application). This Fee Application requested a total of $13,258.10 in attorneys’ fees and
$1,386.01 in attorneys’ costs. Fee Application at 1. In addition, the Fee Application requested
$776.14 for Petitioner’s out-of-pocket expenses. 2 Id.


       1
               Because this decision contains a reasoned explanation for the undersigned’s
action in this case, the undersigned intends to post this decision on the United States Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As
provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b). Otherwise, “the entire” decision will be available to the public. Id.
       2
              Consistent with the requirements of General Order #9, Petitioner filed a
statement delineating costs borne by counsel and Petitioner on March 27, 2014.
                                                 1
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        Respondent communicated by email with the court the same day and indicated that
Respondent does not object to an award in this amount. The undersigned finds these amounts
to be reasonable.

      The court hereby awards the Petitioner attorneys’ fees and costs in the amount of
$15,420.25. Specifically, Petitioner is awarded a lump sum of $14644.11 in the form of a
check payable jointly to Petitioner and Petitioner’s attorney; Petitioner is also awarded a
lump sum of $776.14 in the form of a check payable solely to Petitioner.

       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the Clerk of the court shall enter judgment in
accordance herewith. 3

            IT IS SO ORDERED.

                                         s/Lisa D. Hamilton-Fieldman
                                         Lisa D. Hamilton-Fieldman
                                         Special Master




      3
               Entry of judgment can be expedited by each party’s filing of a notice renouncing
the right to seek review. See Vaccine Rule 11(a).
                                               2
